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17     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
18                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
19                             SOUTHERN DIVISION
20      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and            )
21      CERCACOR LABORATORIES, INC.,           )
        a Delaware corporation,                ) MASIMO’S UNJUST ENRICHMENT
22                                             ) CALCULATION FOR APPLE
                 Plaintiffs,                   ) WATCH SERIES 1-5 AND SE
23                                             )
            v.                                 ) Hon. James V. Selna
24                                             )
25      APPLE INC., a California corporation, ))
                 Defendant.                    )
26                                             )
27                         REDACTED VERSION OF DOCUMENT
                          PROPOSED TO BE FILED UNDER SEAL
28
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1            On April 10, 2023, the Court instructed Masimo to identify its unjust enrichment
2      calculation for Apple Watch Series 1-5 and SE. Apple does not dispute that Masimo
3      disclosed and will present its unjust enrichment calculation regarding Apple Watch
4      Series 6-7. Therefore, Masimo addresses Apple Watch Series 1-5 and SE only.
5                    I. LEGAL STANDARD FOR UNJUST ENRICHMENT
6                                   IN TRADE SECRET CASES
7            To prove Apple’s unjust enrichment, Masimo, as the plaintiff, bears the burden to
8      establish only the revenue Apple received from selling products that benefitted from
9      misappropriation. Apple, as the defendant, then has the burden to establish deductible
10     costs and any portion of its remaining profit not attributable to its misappropriation.
11     BladeRoom Grp. Ltd. v. Emerson Elec. Co., 331 F. Supp. 3d 977, 990 (N.D. Cal. 2018)
12     (applying burden-shifting framework discussed in Restatement (Third) of Unfair
13     Competition § 45 cmt. f (1995)), vacated and remanded on other grounds, 11 F.4th 1010
14     (9th Cir.2021); see also, Iconics, Inc. v. Massaro, 266 F. Supp. 3d 461, 467-68 (D. Mass.
15     2017) (applying Restatement’s burden-shifting framework for unjust enrichment);
16     Stenograph L.L.C. v. Bossard Assocs., Inc., 144 F.3d 96, 103 (D.C. Cir. 1998) (unjust
17     enrichment “determined through a burden shifting process largely identical to the one it
18     had set forth for the copyright infringement claim”). In Bladeroom, the court explained
19     the reason for the framework: the defendant “is in the better position to show any portion
20     of the sale not attributable to the trade secret, which observation conforms to the purpose
21     of the burden shifting occurring when unjust enrichment damages are at issue.” Id.
22           Consistent with this framework, Masimo proposed that the Court instruct the jury
23     as follows:
24           In order to prove the amount by which Apple was unjustly enriched,
25           Masimo and Cercacor have the burden to prove the amount of revenue
26           Apple received from selling products that benefitted from Apple’s
27           misappropriation. Once Masimo and Cercacor satisfy that burden, Apple
28           then has the burden of establishing any portion of its revenue not
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1            attributable to its misappropriation.
2      Dkt. 1548 at 239 (Proposed Instruction 39A). Apple agreed that the framework applies.
3      Id. at 242. However, Apple argued that the jury need not be instructed on the parties’
4      burdens because “[t]he parties’ respective burdens are implicit and unnecessary to
5      mention because only Apple is likely to present evidence on offsetting expenses, since
6      Plaintiffs have no incentive to do so.” Id.
7      II. MASIMO’S DISCLOSURE OF UNJUST ENRICHMENT CALCULATIONS
8                                    FOR SERIES 1-5 AND SE
9            Masimo’s expert, Jeffrey Kinrich, followed this burden-shifting framework for
10     Apple’s unjust enrichment:
11           146. An alternative measure of Apple’s unjust enrichment is the
12           incremental profits Apple has enjoyed from the sale of Watches that
13           incorporate Masimo Trade Secrets. As discussed in Section III.B, I
14           understand every Apple Watch except Series 0 used Masimo’s trade
15           secrets. Apple’s total standard profit for all Apple Watch Sales from 2015
16           through the third quarter of Apple’s 2022 fiscal year
17                                               See Exhibit 8.A-B. To the extent Apple
18           seeks to satisfy its burden to show that the portion of its profit attributable
19           to factors other than the trade secrets, I expect to respond to that analysis.
20     Ex. 1 (Kinrich Rpt.) ¶146 (emphasis added).
21           Kinrich’s Exhibit 8 provided more granular revenue and profit data by Series of
22     Apple Watch. The schedule discloses the following numbers:
23     ///
24     ///
25     ///
26     ///
27     ///
28     ///
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                                     #:146986



1            Apple watch models.
2      Id. ¶165 (emphasis added).
3            In that paragraph, neither Kinrich nor Masimo disclaimed the calculation Kinrich
4      had already disclosed in Paragraph 146 regarding Apple’s unjust enrichment by proving
5      merely Apple’s profit. Instead, Kinrich had just finished explaining how he was able to
6      additionally calculate Apple’s profits specifically attributable to the ECG and blood-
7      oxygen applications in the Series 6-7 watches. In Paragraph 165, he was explaining
8      merely that the analysis on the Series 6-7 watches did not apply to Series 1-5 and SE
9      watches because he did not have a standard of comparison for Series 1-5 and SE watches.
10           Thus, for the Series 1-5 and SE watches, Kinrich determined Apple’s overall
11     profit on the watches. Id. ¶145 (citing Exhibit 8.B). He presumed Apple would respond
12     by proving “the portion of its profit attributable to factors other than the trade secrets.”
13     Id. ¶146. Although not legally required, Kinrich performed a more detailed analysis on
14     the Series 6-7 watches to prove Apple’s incremental profits due to the misappropriation
15     without relying solely on the burden-shifting framework discussed above. In Paragraph
16     165, Kinrich explained that the more detailed analysis applied to Series 6-7 only.
17                               III. SUPPORTING WITNESSES
18           As explained above, Kinrich has reviewed Apple’s financial data and can testify
19     to Apple’s unjust enrichment based on Apple’s revenue and profits on its Series 1-5 and
20     SE watches.
21           Separately, Masimo designated deposition testimony of Michael Jaynes, Apple’s
22     Senior Finance Manager. Masimo designated Jaynes’s testimony to introduce Apple’s
23     financial data that discloses Apple’s revenue and profit numbers (JTX 278 and 1413).1
24
25
       1
26       JTX 278 covers Apple’s data through Q2 2022. After the Jaynes deposition, Apple
       updated its data through Q3 2022. Masimo has marked the supplemental data as JTX
27
       1413. Masimo believes that the Court should admit JTX 1413 upon Masimo introducing
28     the Jaynes testimony discussing JTX 278. Apple has yet to agree.
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1
2                                        Respectfully submitted,
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